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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )                    8:03CR313
                     Plaintiff,              )
                                             )
              v.                             )
                                             )                      ORDER
JOSE ANTONIO RAMIREZ-CORTEZ,                 )
                                             )
                     Defendants.             )
                                             )


       This matter is before the court on the defendant’s application filing to proceed in
forma pauperis (filing no. 96) and certified copy of defendant’s trust account statement
received from his institution (filing no. 97). Upon review of the record, the motion is granted
and the defendant may proceed in forma pauperis on appeal. In filing no. 94, I have
previously denied a Certificate Of Appealibilty.

       IT IS SO ORDERED.

       DATED this 4th day of January, 2006.

                                           BY THE COURT:



                                           s/Joseph F. Bataillon
                                           JOSEPH F. BATAILLON
                                           UNITED STATES DISTRICT JUDGE
